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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
                                          :
ROBERT WHARTON,                           :                 CIVIL ACTION
                                          :
                  Petitioner,             :                 No. 01-6049
                                          :
            v.                            :                 THIS IS A CAPITAL CASE
                                          :
DONALD T. VAUGHN, et al.                  :
                                          :
                  Respondents.            :
_________________________________________ :


                                            ORDER

       AND NOW, this 7th day of May, 2019, upon consideration of the Philadelphia District

Attorney’s Office’s Brief in Response to the Court’s March 4, 2019, Memorandum Opinion and

Order (Doc. No. 162), and Petitioner’s “Motion to Expand Record, Motion for Approval of

Proposed Settlement, and Consolidated Memorandum of Law Ordered by the Court” (Doc. No.

163), I find as follows:

       1. In January 2018, the United States Court of Appeals for the Third Circuit remanded

           this capital habeas matter to this Court, concluding that Petitioner is entitled to an

           evidentiary hearing on a single penalty-phase claim, pertaining to whether

           Petitioner’s counsel was ineffective for failing to place before the penalty-phase jury

           evidence of Petitioner’s adjustment to prison.

       2. Shortly before a status-of-counsel hearing was scheduled to take place before me, the

           Philadelphia District Attorney’s Office submitted notice that it would no longer

           contest the remaining penalty-phase claim and would not seek a new death sentence

           in state court. Despite the fact that this case involves a double homicide and a


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   sentence of death, this notice did not provide an explanation for the concession. The

   parties also submitted a one-page proposed order, requesting that I grant habeas relief

   on the remaining claim. (Doc. Nos. 155, 156.)

3. Thereafter, on March 4, 2019, I issued an Order declining to summarily grant habeas

   relief. In the Memorandum Opinion accompanying that Order, I explained that I

   could not make the required independent evaluation of the merits of the remaining

   habeas claim on the current record, and permitted the parties to further brief the issue.

   (Doc. Nos. 160, 161.)

4. In accordance with my March 4, 2019, Memorandum Opinion and Order, both

   Petitioner and the District Attorney’s Office have submitted briefs. In his Brief,

   Petitioner requests that I expand the record under Rule 7 of the Rules Governing

   Section 2254 Cases. Petitioner has submitted for inclusion in the record a declaration

   from trial counsel, as well as additional prison records, and an expert report of a

   psychologist that reviewed those records. Petitioner contends that these records are

   sufficient for me to determine whether Petitioner is entitled to relief. (Doc. Nos. 162,

   163.)

5. In its brief, the District Attorney’s Office notes generally that it has “carefully

   reviewed the facts and law” in this case and “determined that [Petitioner’s] remaining

   habeas claim . . . is not lacking in merit.” (Doc. No. 162 at 4.) However, the District

   Attorney’s Brief does not note whether it has sought out any facts beyond those that

   are either currently in the record or that have been submitted by Petitioner for

   inclusion under Rule 7. The District Attorney fails to indicate whether it did any

   investigation regarding Petitioner’s adverse or negative adjustment to prison. Nor



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   does the District Attorney comment on the expert report submitted by Petitioner, that

   expert’s qualifications, or whether the District Attorney’s Office has even considered

   consulting with its own expert. Rather, it appears as though the District Attorney’s

   Office has accepted the additional evidence offered by Petitioner at face value,

   without exploring whether contrary views may be viable and worth considering.

6. Having considered the parties’ briefs, and noting that the parties are not adverse as to

   whether relief should be granted on Petitioner’s remaining habeas claim, I find that

   the presentation of an additional perspective by an amicus curiae, on whether the

   District Attorney’s concession is proper, would be helpful.

7. “A district court has inherent authority to designate amici curiae to assist it in a

   proceeding.” Liberty Resources, Inc. v. Phila. Hous. Auth., 395 F. Supp. 2d 206, 209

   (E.D. Pa. 2005). “[P]articipation of an amicus [is] especially proper where the amicus

   will ensure complete and plenary presentation of difficult issues so that the court may

   reach a proper decision.” Id.

8. In determining an appropriate amicus, I note that the Attorney General of

   Pennsylvania has the statutory authority, under certain circumstances, to participate in

   “criminal actions in which there is an appeal.” 71 Pa. Stat. § 732-205(c).

9. Accordingly, I will request the Office of the Attorney General of Pennsylvania

   (hereinafter “the Pennsylvania Attorney General”) to submit an amicus brief in this

   matter, setting out its position as to whether Petitioner is entitled to relief on his

   remaining habeas claim.




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WHEREFORE, is ORDERED that:

   •   Petitioner’s “Motion to Expand Record, Motion for Approval of Proposed

       Settlement, and Consolidated Memorandum of Law Ordered by the Court” (Doc.

       No. 163) is GRANTED IN PART AND DENIED WITHOUT PREJUDICE

       IN PART. Specifically, Petitioner’s Motion is GRANTED insofar as it seeks to

       expand the record, pursuant to Rule 7 of the Rules Governing Section 2254

       Cases, to include the documents attached to the Motion. However, insofar as the

       Motion requests that the Court grant habeas relief, the Motion is DENIED

       WIHTOUT PREJUDICE.

   •   The Pennsylvania Attorney General is requested to submit an amicus brief on the

       issue of whether relief should be granted on Petitioner’s remaining habeas claim

       based on the current record or whether the record before me should be expanded.

       The amicus brief must be submitted within 45 days of the date of this Order.

       The District Attorney’s Office is DIRECTED to provide a copy of this Order to

       the Pennsylvania Attorney General. Should the Pennsylvania Attorney General

       decline to file an amicus brief, it shall so NOTIFY the Court promptly, and no

       later than 45 days from the date of this Order.

   •   After considering any amicus brief filed by the Pennsylvania Attorney General,

       the Court will determine the appropriate course of action in this matter.


                                            BY THE COURT:


                                            /s/ Mitchell S. Goldberg
                                            __________________________
                                            Mitchell S. Goldberg, J.



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